              Case 2:18-cv-00585-JLR Document 99 Filed 08/07/19 Page 1 of 2



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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          Weyerhaeuser Company,                          CASE NO. 18-0585JLR

11                                Plaintiff,               MINUTE ORDER
                   v.
12
            Novae Syndicate 2007, et al.,
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                                  Defendants.
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15          The following minute order is made by the direction of the court, the Honorable

16   James L. Robart:

17          On August 5, 2019, Plaintiff Weyerhaeuser Company (“Weyerhaeuser”) filed

18   three motions in limine, as required by the court’s scheduling order. (MIL (Dkt. # 97);

19   Sched. Order (Dkt. # 29).) In its filing, Weyerhaeuser “seeks guidance from the [c]ourt

20   as to when it would like to consider these motions in limine.” (MIL at 1 n.1.)

21   Weyerhaeuser notes that, under Local Civil Rule 7(d)(4), motions in limine “shall be

22   noted for consideration no earlier than the third Friday after filing and service of the


     MINUTE ORDER - 1
              Case 2:18-cv-00585-JLR Document 99 Filed 08/07/19 Page 2 of 2



 1   motion but no later than the Friday before any scheduled pretrial conference.” Local

 2   Rules W.D. Wash. LCR 7(d)(4). Because the court has combined the pretrial conference

 3   with the August 13, 2019, hearing, Weyerhaeuser cannot comply with the requirement

 4   that its motions in limine be noted for consideration no later than the Friday before the

 5   pretrial conference. See id.; (8/2/19 Order (Dkt. # 96) at 1.)

 6          The court notes Weyerhaeuser’s motions in limine for consideration on Friday,

 7   August 23, 2019. Defendants shall file and serve any opposition papers no later than

 8   Monday, August 19, 2019. See Local Rules W.D. Wash. LCR 7(d)(4). Weyerhaeuser is

 9   not permitted a reply. See id. If necessary, the court will schedule a hearing to address

10   the motions in limine on Monday, August 26, 2019, after receipt of Defendants’

11   opposition, if any.

12          Filed and entered this 7th day of August, 2019.

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                                                 WILLIAM M. MCCOOL
14                                               Clerk of Court

15                                                s/ Ashleigh Drecktrah
                                                  Deputy Clerk
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     MINUTE ORDER - 2
